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         MDL 2179 Transfer Order and Conditional Transfer Order Status

 Order                  Number of Cases
          Date Issued                         Status of Order             Notes
Number                     Included

                                                                     Includes cases
                                                                     from N.D. Cal.,
                                                                     S.D. Fla., N.D.
                                                                     Ga., S.D. Ga.,
                             26 cases
                                                                     E.D. Ky., W.D.
  1         8/24/10       conditionally   Became final on 9/8/10
                                                                     Ky. , M.D. La.,
                           transferred
                                                                     W.D. La., E.D.
                                                                     Tenn., M.D.
                                                                     Tenn., and E.D.
                                                                     Va.

                                                                     Includes cases
                                          Order became final as to   from M.D. Fla.,
                             45 cases
                                          44 cases on September      N.D. Fla., S.D.
  2         8/31/10       conditionally
                                          14, 2010. Order final as   Fla., E.D. Tex.,
                           transferred
                                          to 1 case on 11/30/2010.   S.D. Tex., and
                                                                     E.D. Va.

                                          Order became final as to
                             33 cases     31 cases on September
                                                                     Includes cases
  3          9/2/10       conditionally   16, 2010. Order became
                                                                     from S.D. Tex.
                           transferred    final as to 2 cases on
                                          11/30/2010.

                                                                     Includes cases
                             38 cases                                from M.D. Ala.,
  4          9/8/10       conditionally   Became final on 9/22/10    S.D. Ala., S.D.
                           transferred                               Miss., D. S.C.,
                                                                     and E.D. Tex.

                                                                   Includes cases
                                                                   from M.D. Ala.,
                                          Order became final as to S.D. Ala., Del.,
                             58 cases     51 cases on 11/4/10.     N.D. Fla., S.D.
  5         10/27/10      conditionally   Order final as to        Fla., S.D. Ind.,
                           transferred    remaining seven cases by W.D. La., S.D.
                                          2/8/11.                  Miss., S.D. Tex.,
                                                                   W.D. Tex. and
                                                                   E.D. Va.
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 Order                 Number of Cases
         Date Issued                             Status of Order               Notes
Number                    Included

                                             Order became final as to
                                                                          Includes cases
                            4 cases          three cases on November
                                                                          from N.D. Fla.,
  6       11/10/10       conditionally       17, 2010. Order became
                                                                          S.D. Fla. and
                          transferred        final as to one case on
                                                                          S.D. Tex.
                                             2/7/11.

                                             One case voluntarily
                                             dismissed before CTO
                                             became final and             Includes cases
                            7 cases          therefore not transferred.   from N.D. Fla.,
  7       11/30/10       conditionally       Order became final as to     W.D. La., N.D.
                          transferred        four cases on December       Miss. and S.D.
                                             8, 2010. Order became        Tex.
                                             final as to two cases on
                                             2/7/11.

                             1 case
                                             Order became final on        Includes case
  8       12/21/10       conditionally
                                             2/7/11.                      from S.D. Ala.
                          transferred

                                             Order became final as to
                            4 cases          three cases on January
                                                                          Includes cases
  9        1/20/11       conditionally       27, 2011. Order became
                                                                          from S.D. Tex.
                          transferred        final as to fourth case on
                                             4/18/11.

                             1 case
                                             Order became final on        Includes case
  10       1/31/11       conditionally
                                             2/6/11.                      from S.D. Tex.
                          transferred

                             1 case
                                             Order became final on        Includes case
  11       2/2/11        conditionally
                                             2/9/11.                      from S.D. Tex.
                          transferred

                             1 case
                                             Order became final on        Includes case
  12       2/15/11       conditionally
                                             2/23/11.                     from S.D. Tex.
                          transferred.

                             2 cases                                      Includes cases
                                             Order became final on
  13       3/1/11        conditionally                                    from N.D. Ala.
                                             3/1/11.
                          transferred.                                    and S.D. Tex.




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 Order                 Number of Cases
         Date Issued                             Status of Order             Notes
Number                    Included

                             1 case
                                             Order became final on      Includes case
  14       3/24/11       conditionally
                                             4/1/11.                    from C.D. Cal.
                          transferred

                                             One objection filed
                            2 cases          staying the order as to    Includes cases
  15       4/4/11        conditionally       that case; order became    from S.D. Ala.,
                          transferred        final as to remaining case D. Del.
                                             on 4/12/11.

                            2 cases                                     Includes cases
                                             Order became final as to
  16       4/21/11       conditionally                                  from M.D. Fla.,
                                             all cases on 8/9/11.
                          transferred                                   S.D. Tex.

                                                                        Includes cases
                            4 cases
                                             Order became final on      from S.D. Fla.,
  17       4/26/11       conditionally
                                             5/4/11.                    S.D. Tex., W.D.
                          transferred
                                                                        Tex.

                            3 cases
                                             Order became final as to   Includes case
  18       5/10/11       conditionally
                                             all cases on 8/9/11.       from S.D. Tex.
                          transferred

                             1 case
                                             Order became final on      Includes case
  19       5/13/11       conditionally
                                             5/23/11.                   from S.D. Ala.
                          transferred

                             1 case
                                             Order became final on      Includes case
  20       5/13/11       conditionally
                                             5/23/11.                   from S.D. Ala.
                          transferred

                            3 cases                                     Includes cases
                                             Order become final on
  21       5/16/11       conditionally                                  from M.D. La.,
                                             5/24/11.
                          transferred                                   W.D. La.

                                                                        Includes cases
                            3 cases
                                             Order became final as to   from S.D. Ala.,
  22       5/23/11       conditionally
                                             all cases on 8/9/11.       M.D. La., S.D.
                          transferred
                                                                        Tex.




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 Order                 Number of Cases
         Date Issued                             Status of Order                Notes
Number                    Included

                            9 cases                                        Includes cases
                                             Order became final as to
  23       6/1/11        conditionally                                     from S.D. Ala.,
                                             all cases on 10/6/11.
                          transferred                                      D. Del.

                            3 cases                                        Includes cases
                                             Order became final on
  24       6/14/11       conditionally                                     from N.D. Fla.,
                                             6/22/11.
                          transferred                                      W.D. La.

                            2 cases                                        Includes cases
                                             Order became final as to
  25       6/20/11       conditionally                                     from N.D Fla.,
                                             all cases on 10/6/11.
                          transferred                                      S.D. Tex.

                             1 case
                                             Order became final on         Includes case
  26       6/28/11       conditionally
                                             7/6/11.                       from S.D. Ala.
                          transferred

                                             On 10/6/11 the Panel
                                             issued an order granting
                            2 cases                                        Includes cases
                                             two motions to vacate
  27       6/30/11       conditionally                                     from E.D. Ky.,
                                             and transferred cases
                          transferred                                      S.D. Fla.
                                             back to their original
                                             jurisdictions.

                             2 case                                        Includes cases
                                             Order became final on
  28       7/13/11       conditionally                                     from N.D. Fla.,
                                             7/21/11.
                          transferred                                      S.D. Tex.

                             1 case
                                             Order became final on         Includes case
  29       7/15/11       conditionally
                                             10/6/11.                      from M.D. Fla.
                          transferred

                                             One objection filed,
                                             order final as to the other
                            2 cases                                        Includes cases
                                             action on 8/3/11. Order
  30       7/26/11       conditionally                                     from S.D. Ala.,
                                             became final as to
                          transferred                                      N. D. Fla.
                                             remaining case on
                                             10/6/11.




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 Order                 Number of Cases
         Date Issued                              Status of Order             Notes
Number                    Included

                                              On 12/13/11, the Panel
                                              issued an order granting
                             1 case
                                              the motion to vacate and   Includes case
  31       8/5/11        conditionally
                                              transferring the case      from S.D. Fla.
                          transferred
                                              back to its original
                                              jurisdiction.

                             1 case           Order vacated on
                                                                         Includes case
  32       8/16/11       conditionally        11/16/11 as case was
                                                                         from S.D. Miss.
                          transferred         remanded.

                                              One objection filed,
                                              order final as to other
                            2 cases                                      Includes cases
                                              action on 9/12/11. Order
  33       9/2/11        conditionally                                   from S.D. Fla.,
                                              became final as to
                          transferred                                    M.D. La.
                                              objecting action on
                                              12/13/11.

                             1 case
                                              Order became final on      Includes case
  34       9/15/11       conditionally
                                              9/23/11.                   from S.D. Ala.
                          transferred

                                              One objection filed,
                                              order final as to other    Includes cases
                            4 cases
                                              actions on 10/06/11.       from S.D. Ala.,
  35       9/28/11       conditionally
                                              Order became final as to   N.D. Fla., M.D.
                          transferred
                                              objecting action on        La., S.D. Tex.
                                              2/7/12.

                             1 case
                                              Order became final on      Includes case
  36       10/6/11       conditionally
                                              10/17/11.                  from S.D. Ala.
                          transferred

                        1 conditionally       The Panel ordered the      Includes case
  37      10/18/11
                          transferred         order vacated on 2/3/12.   from S.D. Tex.

                                              Objection filed staying
                             1 case
                                              the order. Order became    Includes case
  38      10/20/11       conditionally
                                              final as to objecting      from S.D. Ala.
                          transferred
                                              action on 2/3/12.




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 Order                 Number of Cases
         Date Issued                             Status of Order                Notes
Number                    Included

                            7 cases                                        Includes cases
                                             Order became final on
  39      11/10/11       conditionally                                     from S.D. Miss.,
                                             11/17/11.
                          transferred                                      S.D. Tex.

                                             Objection filed staying
                             1 case
                                             the order. Order became       Includes case
  40      12/07/11       conditionally
                                             final as to objecting         from S.D. Tex.
                          transferred
                                             action on 4/16/12.

                            7 cases                                        Includes cases
                                             Order became final on
  41      12/16/11       conditionally                                     from S.D. Ala.,
                                             12/27/11.
                          transferred                                      S. D. Fla.

                                             Objections were filed as
                                             to all three cases, but
                                             later withdrawn as to two
                            3 cases                                        Includes cases
                                             cases. The order became
  42       1/12/12       conditionally                                     from M.D. Fla.,
                                             final as to two cases on
                          transferred                                      N.D. Fla.
                                             2/2/12, and was vacated
                                             as to the third as the case
                                             was dismissed.

                             1 case
                                             Order became final on         Includes case
  43       1/18/12       conditionally
                                             1/26/12.                      from N.D. Fla.
                          transferred

                             1 case
                                             Order became final on         Includes case
  44       1/26/12       conditionally
                                             2/3/12.                       from S.D. Miss.
                          transferred

                                                                           Includes cases
                            3 cases
                                             Order became final on         from N.D. Ala.,
  45       2/16/12       conditionally
                                             2/24/12.                      M.D. La., S.D.
                          transferred
                                                                           Tex.




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 Order                 Number of Cases
         Date Issued                             Status of Order             Notes
Number                    Included

                                             Objection filed to
                                             transfer of three cases;
                            7 cases          order final as to four     Includes cases
  46       3/8/12        conditionally       actions on 3/16/12.        from S.D. Fla.,
                          transferred        Order became final as to   S.D. Tex.
                                             objecting actions on
                                             6/8/12.

                                                                        Includes cases
                            7 cases
                                             Order became final on      from N.D. Ga.,
  47       3/16/12       conditionally
                                             3/26/12.                   S.D. Miss., S.D.
                          transferred
                                                                        Tex.

                             1 case
                                             Order became final on      Includes case
  48       3/26/12       conditionally
                                             4/3/12.                    from S.D. Tex.
                          transferred

                                             Objection filed to         Includes cases
                            5 cases
                                             transfer of two cases,     from S.D. Ala.,
  49       4/11/12       conditionally
                                             order final as to other    S.D. Miss., S.D.
                          transferred
                                             actions on 4/19/12.        Tex.

                            2 cases
                                             Order became final on      Includes cases
  50       4/16/12       conditionally
                                             4/24/12.                   from S.D. Miss.
                          transferred

                            6 cases                                     Includes cases
                                             Order became final on
  51       4/19/12       conditionally                                  from S.D. Ala.,
                                             4/27/12.
                          transferred                                   S.D. Miss.

                            3 cases                                     Includes cases
                                             Order became final on
  52       4/24/12       conditionally                                  from S.D. Ala.,
                                             5/2/12.
                          transferred                                   S.D. Tex.

                             1 case
                                             Order became final on      Includes case
  53       5/4/12        conditionally
                                             5/14/12.                   from S.D. Miss.
                          transferred

                            4 cases
                                             Order became final on      Includes case
  54       5/25/12       conditionally
                                             6/4/12.                    from E.D. Tex.
                          transferred



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 Order                 Number of Cases
         Date Issued                             Status of Order          Notes
Number                    Included

                             1 case
                                             Order became final on   Includes case
  55       6/1/12        conditionally
                                             6/11/12.                from S.D. Tex.
                          transferred

                             1 case
                                             Order became final on   Includes case
  56       6/15/12       conditionally
                                             6/25/12.                from S.D. Miss.
                          transferred

                             1 case
                                             Order became final on   Includes case
  57       6/21/12       conditionally
                                             6/29/12.                from S.D. Miss.
                          transferred




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